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 1                                                               JUDGE JAMES L. ROBART
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 4
                              UNITED STATES DISTRICT COURT
 5
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
     UNITED STATES OF AMERICA,                    )   NO. CR20-116JLR
 8                                                )
                     Plaintiff,                   )
 9                                                )   ORDER GRANTING MOTION TO
                v.                                )   CONTINUE TRIAL AND
10                                                )   PRETRIAL MOTIONS DATE
     DAVID CRAIG MARTIN,                          )
11                                                )
                     Defendant.                   )
12                                                )
13          THIS MATTER having come before the Court on defendant’s motion for a

14   continuance of the trial and the pretrial motions due date, and the Court having
     considered the facts set forth in the motion, the records and files herein, the Court
15
     finds as follows:
16
            The Court finds that the ends of justice will be served by ordering a continuance
17
     in this case, that a continuance is necessary to ensure adequate time for effective case
18
     preparation, and that these factors outweigh the best interests of the public and
19
     defendant in a speedy trial.
20          1. A failure to grant the continuance would deny defense counsel the reasonable
21   time necessary for effective preparation, taking into account the exercise of due
22   diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the failure
23   to grant a continuance in the proceeding would likely result in a miscarriage of justice,
24   within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).

25          2. The ends of justice will be served by ordering a continuance in this case, as a

26   continuance is necessary to ensure adequate time for the defense to effectively prepare


       ORDER GRANTING MOTION TO                                  FEDERAL PUBLIC DEFENDER
       CONTINUE TRIAL AND PRETRIAL                                  1601 Fifth Avenue, Suite 700
       MOTIONS DATE                                                   Seattle, Washington 98101
       (David Craig Martin;CR20-116JLR) - 1                                      (206) 553-1100
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     for trial. All of these factors outweigh the best interests of the public and defendant in
 1
     a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).
 2
            IT IS THEREFORE ORDERED that the trial date shall be continued from
 3
     October 13, 2020, to March 1, 2021, and pretrial motions are to be filed no later than
 4
     January 28, 2021.
 5
            IT IS FURTHER ORDERED that the resulting period of delay from the date of
 6   this order to the new trial date is hereby excluded for speedy trial purposes under 18
 7   U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).
 8          IT IS SO ORDERED.
 9
            Dated this 18th day of September, 2020.
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11
12
                                                A
                                              _____________________________________
                                              JAMES L. ROBART
                                              UNITED STATES DISTRICT JUDGE
13
14   Presented by,

15   s/ Gregory Murphy
     Attorney for David Craig Martin
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